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                     UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MINNESOTA
_______________________________________

In Re:

Donald Tietz                                               Bankruptcy No. 17-60377-MER
Coleen Tietz,                                              Chapter 7

      Debtors.
_______________________________________


  NOTICE OF HEARING AND MOTION FOR RELIEF FROM AUTOMATIC STAY

TO: The Debtors and other entities specified in Local Rule 9013-3(a):

         1.     Community Development Bank (the “Bank”), a secured creditor in the above

bankruptcy by its undersigned attorneys moves the Court for the relief requested below and gives

notice of hearing herewith.

         2.     The Court will hold a hearing on this Motion on Tuesday, May 1, 2018, at 1:00

p.m., or as soon thereafter as counsel can be heard, before the Honorable Michael E. Ridgway at

the U.S. Courthouse, 118 South Mill Street, Fergus Falls, MN 56537.

         3.     Any response to this motion must be filed and delivered not later than April 26,

2018, which is five (5) days before the time set for the hearing (including Saturdays, Sundays,

and holidays). UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY FILED,

THE COURT MAY GRANT THE MOTION WITHOUT A HEARING.

         4.     This Motion arises under 11 U.S.C. § 362 and Federal Rule of Bankruptcy

Procedure 4001. This Motion is filed under Federal Rule of Bankruptcy Procedure 9014 and

Local Rules 9006-1, 9013-1 through 9013-3. The Bank seeks relief from the automatic stay of

11 U.S.C. ' 362 in order to enforce its rights as a secured creditor respecting an assignment of

insurance and, as necessary, to foreclose its real property collateral, all as more specifically

provided for herein.
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        5.     The petition commencing this Chapter 7 case was filed on June 22, 2017 and the

case is now pending in this Court. This Court has jurisdiction over this motion pursuant to 28

U.S.C. '' 1334 and 157(a), Fed. R. Bankr. P. 5005 and Local Rule 1070-1. This is a core

proceeding.

        6.     Don Tietz Construction, Inc. (the Company) has the following loan with the

Bank:

               On or about May 7, 2012, for value received, the Company made, executed and
               delivered to the Bank a Promissory Note in the original principal amount of
               $350,000.00. A true copy of the Note is attached as Exhibit A. The Company is
               a debtor in a related chapter 7 case (Case No. 17-60441).

        7.     Debtor Donald Tietz and a non-debtor third party guaranteed the foregoing loan.

A true copy of the Guaranty is attached hereto as Exhibit B.

        8.     To secure the loan guaranty in part, Debtors executed and delivered to the Bank

the following Mortgage:

               Mortgage dated May 7, 2012, filed for record in the Office of the Becker County
               Recorder, State of Minnesota on May 11, 2012 as Document No. 597302.

        A true copy of the Mortgage is attached hereto as Exhibit C. The real property secured

by the foregoing Mortgage is commonly known as 23865 250th Street, Detroit Lakes, MN 56501.

        9.     In connection with the foregoing loan, Debtors and others executed or consented

and agreed to as applicable to a Loan Modification and Forbearance Agreement dated April 30,

2016 as amended in October of 2016. True copies of the Agreement and Amendment are

attached as Exhibits D and E, respectively. Among other things, the Agreement provided for an

assignment of life insurance on Donald Tietz as security for the loan guaranty. A true copy of

the assignment of Northwestern Mutual Insurance Policy No. ****3910 is attached as Exhibit F.

        10.    After all extensions and amendments, the subject loan has matured and is in

default. The loan is presently outstanding in the following amount: $10, 367.97 as of March 23,

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2018 together with further interest of 6.25%, costs and disbursements as well as reasonable

attorney fees, all as provided for in the loan documents. The Bank is an over-secured creditor.

The insurance policy assignment has a value at least equal to the sums due the Bank, and Debtors

value the real estate at $8,000.00 (includes additional acreage) in their schedule A.

       11.     Pursuant to 11 U.S.C. ' 362(g), the burden is on the Debtors to prove absence of

cause and/or adequate protection. The Bank’s interest in the real property is not adequately

protected and cause exists for relief from the automatic stay. For whatever reason, no discharge

has been entered in this case which has been pending for many months. The Bank’s equity

cushion will erode with the passage of time. Further, this being a Chapter 7 case, the property is

not necessary for an effective reorganization. Upon information and belief, the Debtors do not

oppose this motion for stay relief.

       WHEREFORE, the Bank by its undersigned attorneys moves the Court for an Order that

the automatic stay provided by 11 U.S.C. § 362(a) be terminated to permit the Bank to enforce

its rights as a secured creditor with regard to the insurance assignment described above and as

necessary to commence and complete foreclosure of its Mortgage respecting the subject real

property pursuant to its loan documents and under applicable law, as well as for such other relief

as may be just and equitable.

       Dated this 16th day of April, 2018.


                                                      JONATHAN FAY, P.C.


                                              By:     /e/ Jonathan R. Fay
                                                      Jonathan R. Fay, ID #173721
                                                      P.O. Box 764
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                                                      Attorneys for Community Development
                                                      Bank
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                     UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MINNESOTA
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In Re:

Donald Tietz                                                  Bankruptcy No. 17-60377-MER
Coleen Tietz,                                                 Chapter 7

      Debtors.
_______________________________________

            MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF FROM
                         THE AUTOMATIC STAY

                                                Facts

         Community Development Bank (the “Bank”) is the holder of a claim secured by an

assignment of insurance and real property of the Debtors. The Bank has not been provided with

adequate protection of its interest in the collateral. The underlying indebtedness is in default.

Cause exists for lifting the automatic stay. In addition, although the Debtors have equity in the

property, the property is not necessary for the Debtor’s reorganization, this being a Chapter 7

case.

                                             Argument

         Pursuant to 11 U.S.C. § 362(d) (1) of the Bankruptcy Code, a creditor is entitled to relief

from the automatic stay “for cause, including the lack of adequate protection of an interest in

property of such (creditor).” No adequate protection has been provided to the Bank relative to its

interest in the collateral. Pursuant to 11 U.S.C. § 362(d) (2) of the Bankruptcy Code, stay relief

is also appropriate where as in this case, the property is not necessary to an effective

reorganization.

         As a consequence, relief from the automatic stay should be granted so the Bank can

proceed to enforce its lien interests in the property.
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    Dated this 16th day of April, 2018.


                                                JONATHAN FAY, P.C.


                                          By:   /e/ Jonathan R. Fay
                                                Jonathan R. Fay, ID #173721
                                                P.O. Box 764
                                                Detroit Lakes, MN 56502-0764
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                                                jack@jfaylaw.com
                                                Attorneys for Community Development
                                                Bank




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                           DISTRICT OF MINNESOTA
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In Re:

Donald Tietz                                                Bankruptcy No. 17-60377-MER
Coleen Tietz,                                               Chapter 7

      Debtors.
_______________________________________

                                   AFFIDAVIT OF SERVICE

STATE OF NORTH DAKOTA                 )
                                      ) SS:
COUNTY OF CASS                        )

        Tricia A. Fossen, being first duly sworn on oath deposes and says that she is a secretary
in the office of Jonathan Fay, P.C; that on the 16th day of April, 2018, she caused copies of the
following documents to be filed with the Court’s CM/ECF system, which provides service to all
counsel of record by electronic mail:

  NOTICE OF HEARING AND MOTION FOR RELIEF FROM AUTOMATIC STAY

MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF FROM THE AUTOMATIC
                            STAY

                 ORDER GRANTING RELIEF FROM STAY [PROPOSED]

I further certify that on April 16, 2018, I caused copies of the foregoing documents to be served
on the following via U.S. Mail:

         Donald Tietz
         Coleen Tietz
         PO Box 5
         Callaway, MN 56521

and the envelope with postage prepaid was deposited by her in the United States Mail at Fargo,
North Dakota, for delivery by the United States Post Office Department as directed by said
envelope.


                                                     /e/ Tricia A. Fossen
                                                     Tricia A. Fossen


         Subscribed and sworn to before me this 16th day of April, 2018.


                                                     /e/ Michelle M. Hallman
                                                     Notary Public
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                     UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MINNESOTA
_______________________________________

In Re:

Donald Tietz                                                  Bankruptcy No. 17-60377-MER
Coleen Tietz,                                                 Chapter 7

      Debtors.
_______________________________________

                           ORDER GRANTING RELIEF FROM STAY

         The above matter came before the Court on May 1, 2018, on the Motion of Community

Development Bank for relief from the automatic stay imposed by 11 U.S.C. § 362(a).

         Based on the record, the Court finds that grounds exist under 11 U.S.C. § 362(d) to

warrant relief.

         IT IS HEREBY ORDERED:

         1.       The Motion for Relief from Stay is granted as follows.

         2.       The automatic stay imposed by 11 U.S.C. § 362(a) is terminated such that the
                  Movant Community Development Bank may exercise its rights and remedies
                  under applicable non-bankruptcy law with respect to the following property:

                  **See attached Exhibit A
                   And,
                   Assignment of The Northwestern Mutual Life Insurance Company Policy No.
                  ****3910

         3.       Notwithstanding Fed. R. Bankr. P. 4001(a)(3), this Order is effective
                  immediately.

         Dated this ______ day of ________________________, 2018.



                                                       _________________________________
                                                       Michael E. Ridgway
                                                       United States Bankruptcy Judge
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